       Case 3:97-cr-00128-RV         Document 218       Filed 11/14/05    Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION
UNITED STATES OF AMERICA

       VS                                                      CASE NO.   3:97CR128-02/RV

ERIC DARNEL TAYLOR

                                    REFERRAL AND ORDER

Referred to Judge Vinson on         11/14/2005
Type of Motion/Pleading MOTION FOR MODIFICATION AND CORRECTION OF
SENTENCE PURSUANT TO TITLE 18, U.S.C. SECTION 3582(c) (1) (B) OR UPON
THE COURT’S OWN MOTION ...
Filed by: DEFENDANT TAYLOR       on 7/26/05      Doc. No. 217
( ) Stipulated/Consented/Joint Pleading
RESPONSES:
                                 on              Doc. No.
                                 on              Doc. No.
                                 WILLIAM M. McCOOL, CLERK OF COURT

                                               /s/ V. Harmon
                                               Deputy Clerk

                                               ORDER
Upon consideration of the foregoing, it is ORDERED this                      14th   day of
    November             , 2005, that:
(a) The requested relief is DENIED.
(b)    See order of October 18, 2001.




                                               /s/ Roger Vinson
                                               ROGER VINSON
                                               SENIOR UNITED STATES DISTRICT JUDGE




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                                Document No.
